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CP

MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE, OR CORRECT

SENTENCE BY A CTE MORENG ~~
Di

United States Distrighegurt | orem irc of mri

Name of Movant

ri

Place of Confinement

U.S. Penitentiary, Beaumont / P.O. Box 26030 , Beaumont, Texas 77720

ANTING risoner’s No. Docket No.
Sylvester Reid 50013-004 96-798-CR-FaM ]}
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(Include name upon which convicted)

UNITED STATES OF AMERICA Vv Sylvester Reid
(Full name of movaas) : ~

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MOTION oo 4

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TNT

1. Name and Jocation of court which entered the judgment of conviction under divack Tithe U.S,
District Court in the Southern District of Florida 452 =

ay OS
Tea

2. Date of judgement of conviction  Danemher 32, 1997

Length of sentence 660 months.

4, Nature of offense involved (all counts) — violation of section 18 U.S.C. 924{c)

and 1951

5. What was your plea? (Check one)

(a) Not guilty bl
(b) = Guilty CO
(c) Nolo contendere CO
6. Kind of trial: (Check one)
(a) ‘Jury ix!
(bo) Judge only Cj
7. Did you testify at trial?
Yes 1 No kK) -
8. __ Did you appeal from the judgment cf conviction?
Yes & NoO

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10.

11.

If you did appeal, answer the following:

(a) Name of court U.S. Supreme Court

(bo) Result Writ of Certiorari - Denied

(c) Date of Result January 10, 2000

" Other than a direct appeal from the judgment of conviction and sentence, have you previously filed
any petitions, applications or motions with respect to this judgement in any federal court?

Yes) No &)

If your answer to 10 was "yes," give the following information:

(a) (1) Name of court N/A

(2) Nature of proceedings

(3) Grounds raised N/A

(4) Did you receive an evidentiary hearing on your petition, application or motion?

YesONoO

(6) Date of result

(b) As to any second petition, application or motion, give the same information:

(1) Name of Court

(2) Nature of proceeding

(3) Grounds raised N/A

(4) Did you receive an evidentiary hearing on your petition, application or motion?

YesONoO
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12.

(5) Result N/A
(6) Date of Result

(c) As to any third petition, application or motion, give the same information:
(1) Name of Court :

(2) Nature of proceeding

(3) Grounds raised N/A

(4) Did you receive an evidentiary hearing on your petition, application or motion?
YesONoO

(5) Result : N/A
(6) Date of Result .

(d) Did you appeal, to an appellate fecleral court having jurisdiction, the result of action taken on any
petition, application or motion?

(1) First petition, etc. Yes (1 No
(2) Second petition, etc. Yes No &
(3) Third petition, etc. Yes 0) No &)

(e) If you did not appeai from the adverse action on any petition, application or motion, explain
briefly why you did not:
N/A

State concisely every ground on which you claim that you are being held unlawfully. Summarize
briefly the facts supporting each ground. If necessary, you may attach pages stating additional
grounds and facts supporting same.

CAUTION: If you fail to set forth all grounds in this matter, you may be barred from presenting
additional grounds at a later date.

For your information, the following is a list of the most frequently raised grounds for relief in these
proceedings. Each statement preceded by a letter constitutes a separate ground for relief. You may
raise any ground which you have other than those listed. However, you should raise in this motion
all available grounds (relating to this conviction) on which you based your allegations that you are
being held in custody unlawfully.

Do not check any. ‘of these listed grounds. If you select one or. more of these grounds for relief, you

must allege facts. The motion will be returned to you if you merely check (a) through (j) or any one
of the grounds.
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(a)

(b)
(c)
(d)
(ec)
(N

(g)
(h)
(1)
()

Conviction obtained by plea of guilty which was unlawfully induced or not made voluntary or with understanding of the

- nature of the charge and the consequences of the plea.

Convictions obtained by use of coerced confession.

Convictions obtained by yse of evidence gained pursuant to an unconstitutional search and seizure.

Convictions obtained by use of evidence obtained pursuant to an unlawful arrest.

Convictions obtained by a violation of the protection against self-incrimination.

Convictions obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence favorable to

the defendant.

Convictions obtained by the violation of the protection against double jeopardy.

Convictions obtained by action of a grand or petit jury which was unconstimutionally selected and impanelled.
Denial of effective assistance of counsel.

Denial of right of appeal.

A. Ground one: Jurisdictional Defects

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Supporting FACTS (tell your story briefly without citing cases or law): _ The statute for which

the movant was convicted is unconstitutional for overbreath.

B. Ground two: Jurisdictional. Defects

Supporting FACTS (tell your story briefly without citing cases or law): The 924(c) counts fail

to state in the indictment a nexus to commerce.

C. Ground three: Inadequate Jury Instructions

Supporting FACTS (tell your story briefly without citing cases or law): The jury instrctions

as to counts (1) and (3) are constitutionally inadequate

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13.

14.

15.

D. Ground four: Jurisdictional Defcts

Supporting FACTS (tell your story briefly without citing cases or law): _Thex indictment fails

to limit itself to the alledged affected commerce

If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what

grounds were not so presented, and give your reasons for not presenting them: _N/A

Do you have any petition or appeal now pending in any court as to the judgement under attack?
Yes C1 No ,

Give the name and address, if known, of each attorney who represented you in the following stages ¢
the judgement attacked herein:

(a) At preliminary hearing Ms. Gail M. Stage, Esq.

(b) At arraignment and plea same
(c) At trial same
(d) At sentencing same

(e) On appeal Kahthleen M. Williams, Esq.

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- (f) In any post-conviction proceeding N/A

4
(zg) On appeal from any adverse ruling in a post-conviction proceeding N/A

16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the
same court at approximately the same time?

Yes OO No U1

17. Do you have any future sentences to serve after you complete the sentence imposed by the judgement
under attack?

YesONoO

(a) If so, give name and location of oR which imposed sentence to be served in the future:
N/A

(b) Give date and iength of the above sentence: N/A

(c) Have you filed, or do you contemplate filing, any petition attacking the judgement which imposed
the sentence to be served in the future? :

YesO No OU)

Wherefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.

N/A

Signature of Attorney (if any)

I declare under penalty of perjury that the foregoing is true and correct. Executed on:

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Signature of Movant

